














COURT OF APPEALS

SECOND DISTRICT OF TEXAS

FORT WORTH



NO. 2-08-416-CV



M.TEE' ENTERPRISE INC.
	
APPELLANT



V.



ERIC MARTIN D/B/A TEXAS PLEXES
 	APPELLEE

 
	

----------

FROM COUNTY COURT AT LAW NO. 1 OF TARRANT COUNTY

----------

MEMORANDUM OPINION
(footnote: 1) AND JUDGMENT

----------

We have considered “Appellant’s Motion To Dismiss Appeal.” &nbsp;It is the court’s opinion that the motion should be granted; therefore, we dismiss the appeal. &nbsp;
See
 
Tex. R. App. P.
 42.1(a)(1), 43.2(f).

Costs of the appeal shall be paid by appellant
, for which let execution issue. &nbsp;
See 
Tex. R. App. P.
 
43.4.



PER CURIAM

PANEL: &nbsp;GARDNER, WALKER, and MCCOY, JJ.



DELIVERED: &nbsp;March 26, 2009

FOOTNOTES
1:See
 
Tex. R. App. P.
 47.4.




